                             JUDGMENT ENTRY.
This appeal is considered on the accelerated calendar under App.R. 11.1(E) and Loc.R. 12, and this Judgment Entry shall not be considered an Opinion of the Court pursuant to S.Ct.R.Rep.Op.3 (A).
Defendant-appellant Ronald May appeals the trial court's judgment convicting him of robbery in violation of R.C. 2911.02(A)(2). May was convicted of this offense following the entry of a guilty plea.
After reviewing the record and the applicable law, May's appointed appellate counsel, pursuant to Anders v. California,1 states in her brief that she has found no errors in the proceedings below and has requested this court to review the record for any reversible error.
Under Anders, this court is now charged with the task of independently reviewing the record for any prejudicial errors that would warrant the reversal of the trial court's judgment. After reviewing the entire record, we conclude that there was no prejudicial error in the proceedings below, and we hold that there are no grounds to support a meritorious appeal. The judgment of the trial court is, therefore, affirmed, and counsel's motion to withdraw is hereby overruled.
Although we have concluded that this appeal is frivolous pursuant to App.R. 23 and is without "reasonable cause" under R.C. 2505.35, we refrain from taxing costs and expenses against May because it is clear from the record that he is indigent.
Further, a certified copy of this Judgment Entry shall constitute the mandate, which shall be sent to the trial court under App.R. 27. Costs shall be taxed under App.R. 24.
Doan, P.J., Hildebrandt and Hendon, JJ.
1 (1967), 386 U.S. 738, 87 S.Ct. 1396.